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                  UNITED STATES DISTRICT COURT
                  SOUTHERN DISTRICT OF FLORIDA

            CASE NO.:          18-C V - 24 1 0 0 - C O O K E /GOODMAN


   DIGNA VINAS,

          Plaintiff,

   vs .

   THE INDEPENDENT ORDER OF
   FORESTERS,

          De f e n d a n t .

   ------------------------------/


                        Vi deo de pos iti on o f
                            L ISA BUCKLAND,
               ta ke n at To ron to Cou rt R ep o rt e rs
                65 Q uee n Stre et W. , Su ite 14 1 0
               To ro n to, On tar io, Ca nada M5 H 2M 5
                           on M a r ch 4, 202 0




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                                                 EXHIBIT "A'
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   APPEARANCES:

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 1                                  EXHIBITS

 2                                                                 Page N o .

 3      EXHIBIT NO.     12:   Email    from Liz Folk to Eli Whabi            and

 4      Valerie Bourbonnais.

 5                                                                 38

 6      EXHIBIT NO.     13:   Contestable        Claim Und erwriting

 7      Review-Life,     Bates      document     000227.

 8                                                                 39

 9      EXHIBIT NO.     14:   Email    from Liz Folk to Lisa Buckland

10      Dated February 28,          2017 at 9:30:12 a.m.

11                                                                 44

12      EXHIBIT NO.     15:   Email    from Liz Folk to Lisa Buckland

13      Dated February 28,          2017 at 9: 30: 12 a. m.

14                                                                 44

15      EXHIBIT NO.     16:    The printout        from a CRM program.

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19        Objections    are found on the following pages:

20                14,   18,   19,    20,   21,   24,   29,    55

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                                                       LISA BUCKLAND           5


 1      —   Upon commencing at 8:28 a.m.

 2                        VIDEOGRAPHER:       This    is Peter Goodale,

 3      certified legal videog rap her        from Toronto Court

 4      Reporters.      We are going on the record on Thursday,

 5      March 5, 2020,     at the time indicated on the video,

 6      which is 8:28 a.m.

 7                        Here begins Media number 1 in the

 8      deposition of Lisa Buckland,          taken by plaintiff,         in

 9      the matter of Digna Vinas versus             The Independent

10      Order of Foresters,       case number 18-CV-22100,         filed

11      in the United States       District Court       for the Southern

12      District of Florida,       and being held at Toronto Court

13      Reporters,     65 Queen Street West,         Suite 1410,

14      Toronto,     Ontario,   Canada.

15                        The certified court reporter is Marc

16      Beebe    from the firm Toronto Court Reporters.

17                        Counsel,      please introduce yourselves

18      and state whom you represent,          and the court reporter

19      will    swear in or affirm the witness.

20                        MR.   GREENE:     Good morning.     This   is

21      Craig Greene,     on behalf of the plaintiff Digna

22      V in a s .

23                        MS.   PETT:     Good morning.     Kristina

24      Pett,    on behalf of the defendant The Independent

25      Order of Foresters.




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 1                          MR.   GREENE:     Please    swear the witness.

 2      LISA BUCKLAND,       sworn.

 3      EXAMINATIO N BY MR.        GREENE:

 4      BY MR.    GREENE:

 5                          Q - Please give us your name and

 6      address?

 7                          A - Lisa Buckland.         Home address?

 8                          Q - T h a t ’s fine.

 9                          A - Is 512 Drew Street,           Oshawa,

10      Ontario,    L1H 5 B 7 .

11                          Q - Initially I notice you talk very

12      softly;    t h a t ’s fine for you and I chatting,          our court

13      reporter,    though,      is going to need you to speak up

14      just little bit       so that he can hear everything you

15      say.     Okay?

16                          A - Okay.

17                          Q - Okay.       Ms.   Buckland,   my name is

18      Craig Greene,       and I represent the plaintiff,              and over

19      the next hopefully not too long,               I ’m going to be

20      taking your deposition;          that means that        I ’m going to

21      be asking you questions          and looking to you for

22      answers.     If at any time you d o n ’t underst and any of

23      my questions,       please    let me know;      I ’ll be glad to

24      re-ask the question or rephrase the question or do

25      whatever it takes         so you unders tan d the question I ’m




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                                                      LISA BUCKLAND           7


 1      asking and you're giving me an answer accordingly.

 2                          I need you to answer all questions             out

 3      loud with a "yes",       a "no",     an "I don't know",        or any

 4      other verbal       response,   because   " u h - h u h s " , "hm-hmms",

 5      shakes of the head,       of other non-verbal         responses,

 6      while    it may come across      clear on the video,         doesn't

 7      come across       clearly for our court reporter,           and

 8      that's our official       record.

 9                          Experience has shown that the most

10      difficult instruction to follow is this:                 I need you

11      to please allow me to finish asking all of my

12      questions before you begin answering it.                 The reason

13      that that is so hard is because in normal

14      conversation you know what the last two,               three,     four

15      words    of my question are going to be just by the

16      context of our conversation,          but in a deposition we

17      need to have a clean question,           followed by a clean

18      answer,    just because    it reads better       for our jury.

19      So it may happen;       if it doesn't,     if you're able

20      remember all the time to let me finish,               then you'll

21      be the first in years,         but   I' m keeping my fingers

22      crossed.

23                         We do take a break about every hour.

24      I' m hoping not to have to take too many breaks with

25      you,    if any.




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                                                        LISA BUCKLAND       8


 1                        Do you underst and all these

 2      instructions?

 3                        A - Yes.

 4                        Q - Okay.     By whom are you employed?

 5                        A - Foresters.

 6                        Q - Foresters what?

 7                        A - Foresters       Financial.

 8                        Q - Okay.     What do you do for Foresters

 9      Financial?

10                        A - I ’m a claims adjudicator.

11                        Q - What does a claims adjudicator do?

12                        A - We review claims that come in.

13                        Q - For what       kind of,   what    kind of

14      claim?

15                        A - Death claim,       disability claims.

16                        Q - So you work for an insurance

17      company?

18                        A - Yes,    sir.

19                        Q - Okay.     And you're part of the team

20      that reviews the claims that are made by policy

21      holders under their policies?

22                        A - Yes.

23                        Q - I have the benefit of having spoken

24      with David yesterday,        Sullivan,    Mr.    Sullivan,   and he

25      kind of let me in on some of the things                you do.    Do I




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                                                                 LISA BUCKLAND             9


 1      understand that right now y o u ’re,                   a hundred percent

 2      of your professional              time is devoted to contestable

 3      life claims ?

 4                            A - Yes,       sir.

 5                             Q - Okay.        As    I understand,         a

 6      contestable        life claim,         basical ly a insured has the

 7      misfortune        of having passed away shorter than the

 8      contestable period,             usually two years             from the time

 9      that the policy was issued,                  and under those

10      circumstances the insurance                  company goes back,              looks

11      at the application and determines                      if there were any

12      mi s t a k e s i n t h e a p p l i c a t i o n t h a t we r e ma t e r i a l t o

13      underwriti ng the risk,              and if the policy would have

14      been written in any other way,                    any other material

15      form,     you all attempt to rescind the policy;                         is that

16      a pretty good summary?

17                            A - Yes.

18                             Q - Okay.        And t h a t ’s what you do five

19      days a week,         you know,       eight hours a day,             whatever,

20      whatever your schedule is?

21                            A - Yes.

22                             Q - Okay.        How long have you been doing

23      that?

24                            A - I ’ve been working in the claims

25      department        for —      sorry.




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                                                        LISA BUCKLAND           10


 1                           Q - Take your time.        D o n ’t be nervous.

 2       I am the single least offensive lawyer you will meet

 3       that will be questioning you,             I promise.

 4                           A - Okay.

 5                           Q - Okay?
 6                           A - For over six years.

 7                           Q - Okay.    Have you reviewed anything

 8       in preparat ion      for your depo today?

 9                           A - Just the information that was

10       s h o wn t o me .

11                           Q - Without telling me what you

12       discussed,     tell me what you reviewed?

13                           A - I reviewed the documents          that Tina

14       had --

15                           Q - Okay?
16                           A - —   shown m e .

17                           Q - Can you give me an idea of,          after

18       having reviewed them,        what they were?

19                           A - They were the medical          records,   my

20       review from going through the file.

21                           Q - Okay.    Before reviewing the records

22       that Ms.    Pett showed you,      if someone had said:            "Did

23       you do a contestable        claim for a Rigoberto Vinas?",

24       what would you have told them?

25                           A - I d o n ’t recall.




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                                                          LISA BUCKLAND             11


 1                          Q - Okay.       T h a t ’s what   I figured.

 2                          We were told yesterday that you do

 3       approximately,       there was a range,        but there was,         you

 4       do approximately,        you get 300 new files a year;               does

 5       that    sound about right?

 6                          A - I d o n ’t know the number,          but i t ’s

 7       a lot.

 8                          Q - Okay.      And you know from reviewing

 9       this that you would have reviewed this claim at

10       approximate ly the beginning of 2017;                correct?

11                          A - Correct.        Yes.

12                          Q - After reviewing the materials                 that

13       Ms.    Pett   showed you,    do you recognize the file?               Do

14       you remember it?

15                          A - No.

16                          Q - Okay.       It was just,       i t ’s just,    that

17       could have been you,         it could have been someone else,

18       you have no recollection of working on this                  file

19       whatsoever?

20                          A - I d o n ’t,   sorry.

21                          Q - Okay.       Did you,    was there anything

22       in reviewing the file that made you think the steps

23       that were taken were not yours,               in other words,        you

24       say:     "Well,   no,   I w o u l d n ’t have done t h a t ” , or:

25       "That    seems    kind of weird that that was my file.                 Are




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                                                               LISA BUCKLAND         12


 1       you telling me t h a t ’s my f i l e ? ”           Any thi ng like that?

 2                              A - No,      sir.

 3                              Q - So the steps that were taken that

 4       you saw were consistent with what you would have

 5       taken anyway?

 6                              A - Yes.

 7                              Q - Even though you d o n ’t remember

 8       t a k e n t h em ?

 9                              A - Correct.

10                              Q - Okay.       When you undertake a

11       contestable          claim,    does your inquiry change depending

12       upon the state in which y o u ’re doing that claim or

13       m a k in g t h a t in q u i r y ?

14                              A - Can you say that again?

15                              Q - Su r e .    A re a ll th e p o l icie s th a t

16       you investigate,            or all the applications         you

17       investigate,          are those      from the United States?

18                              A - Yes,      sir.

19                              Q - Okay.       Does your inquiry,         do the

20       questions you ask,             or the scope of your inquiry,           or

21       any other aspect of your investigation,                    change

22       depending upon the state where the policy was                       issued?

23                              A - Not at,         not   for the beginning

24       process      of it;     at the end it could.

25                              Q - Okay.       What      changes at the end?




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                                                           LISA BUCKLAND         13


 1                          A - If it was a causal           connection

 2       s t ate , we woul d have to make a direct link between a

 3       m i s - - i f t h e r e was a misrep      found and the cause of

 4       death.

 5                          Q - Causal     connection meaning that if

 6       the insured left off the 16 diagnoses of cancer that

 7       he had,    which would have caused you not to have

 8       issued the policy but he dies by getting hit by a

 9       bus,   then there would be no causal              connection?

10                          A - Correct.

11                          Q - Okay.      And the policy would still

12       then be in effect,        in a causal        connection state?

13                          A - I would have to look at the whole

14       file   for that.

15                          Q - Fair enough.           But t h a t ’s what you

16       m e a n t b y c a u s a l connection?

17                          A - Correct,         if t h e r e ’s a direct   link.

18                          Q - Understood.           When y o u ’re making

19       your inquiries       --- well,   strike that.

20                          Have you ever read the policy

21       representation,       or the app lication representation

22       that the insured makes when h e ’s promising to do

23       whatever h e ’s pro mising to do in the application?

24                          A - You mean the piece on the actual

25       application itself?




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                                                          LISA BUCKLAND       14


 1                           Q - Yes.

 2                           A - Yes.

 3                           Q - I ’ll paraphrase;        if you're

 4       uncomfortable with my paraphrase,               you tell me,     okay?

 5                           In essence,     the pro posed insured

 6       promises    to provide information that is true and

 7       correct to the best of his or her knowledge or

 8       belief?     Is that accurate?

 9                           A - Yes.

10                           Q - Okay.      When you make your

11       inquiries,    do you make your inquiries trying to

12       determine what the pro posed insured' s best                knowledge

13       and belief was at the time that they filled out the

14       application,    or do you make your inquiry to determine

15       if the insured left out,           for example,      a diagnosis

16       that he may or may not have known about?

17                           MS.   PETT:    Objection to the form.

18       OBJECTION

19       BY MR.    GREENE:

20                           Q - You can answer.

21                           A - I l o o k t o s e e i f t h e r e wa s

22       anything that was not disclosed on the application.

23                           Q - Okay.      So your focus is not whether

24       the insured knew about the thing that was not

25       disclosed,    your inquiry is to determine whether or




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                                                                   LISA BUCKLAND        15


 1       not there was a diagnosis,                   or a test,      or something

 2       like that that was not disclosed?

 3                                 A - I want to see if there was any

 4       medical        information that was not disclosed on the

 5       appli cation.

 6                                 Q - Okay.        Do you ever take the inquiry

 7       to the point where you say,                      okay,   there was a blood

 8       test —         l e t ’s say,         for example    —    that made   its way

 9       into the diabetic category —                       I ’m using one t h a t ’s a

10       little closer to home                   for this    case -- that now the

11       blood test made               its —      l e t ’s say in order to be

12       diabetes,          it has to have a reading of 7.0 or higher;

13       you with me?

14                                 A - Yes.

15                                 Q - Okay.        And you look at a couple of

16       tests,       and in fact there was a blood test reading of

17       7. 0 or higher on two or three tests;                       you still with

18       me?

19                                 A - Yes.

20                                 Q - Okay.        And the insured did not

21       disclose that he had diabetes;                      would that be,

22       something that was                   left off,    from your perspective,         a

23       m i s r e p r e se n t a t i o n ?

24                                 A - I ’m looking at what the doctors

25       have documented in the file.




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                                                    LISA BUCKLAND           16


 1                        Q - Okay?

 2                        A - And I ’m,     I would look to see if

 3       there was a diagnosis       of diabetes.

 4                        Q - And when you look at diagnosis,

 5       what do you look at in the d o c t o r ’s records?

 6                        A - I ’m looking to see —         I ’m looking

 7       to see what the doctor had documented,            based on the

 8       visits that were that,       that he had gone in for.

 9                        Q - Right.      But the doctor has

10       different areas     in his report;     he says    "discussed

11       with the patient",     there are billing codes;        y o u ’re

12       familiar with those,      right?     CPT codes?

13                        A - Hm-hmm.

14                        Q - Yes?

15                        A - Yes.

16                        Q - Okay.     There are other places where

17       it says   "subjective complaints,       objective    findings",

18       y o u ’re familiar with those      categories?

19                        A - I am .

20                        Q - Okay.     When you are looking through

21       the records,    do you make any attempt to determine

22       what the i n s u r e d ’s knowledge and belief was as to his

23       or her condition,     or j ust what the doctor documented?

24                        A - I ’m looking at the documentation.

25                        Q - Okay.     So let me follow that up




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                                                           LISA BUCKLAND        17


 1       with,    so then you do not make any attempt to

 2       determine whether the insured pro vided his best

 3       knowledge and belief about what was documented;                   is

 4       that    fair?

 5                        A - With this          file,    it was documented

 6       so many times that       I would think that he was aware

 7       of his condition.

 8                        Q - I underst and that you're making

 9       that assumption.        That was an assumption on your

10       part,    fair enough?     You would think,          you said?

11                        A - Based on the repetitive notes.

12                        Q - Yes.        The CPT codes or the IG

13       whatever codes were,          right?     That's what you're

14       referring to?

15                        A - I' m referring to the actual notes

16       in the medical       records.

17                        Q - The CPT codes,             the ones that   say - ­

18       I forget what the code number is,                ant then it says

19       diabetes mellitus,       those different notes;          right?

20                        A - Yes,       all the different notes.

21                        Q - Okay.        Let's get back to my

22       original    question though:           Do you make any

23       deter mination —       this    is a general question,       not with

24       regards    to this    file -- when you do your

25       investigations,       do you make any attempt to determine




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                                                             LISA BUCKLAND             18


 1       not w h a t ’s just in the records but whether the

 2       insured knew of his condition so that he could

 3       provide his best knowledge and belief to you?

 4                           A - I look,       if it was documented,                that

 5       it was discussed directly with him,                   I would document

 6       that as w e l l .

 7                           Q - Fantastic.          What if i t ’s not?

 8       Other than it saying           ”I talked to him about i t ”?

 9                           MS.   PETT:      Objection to the form.

10       OBJECTION

11       BY MR.   GREENE:

12                           Q - You can answer.

13                           A - If i t ’s not —

14                           Q - Documented?

15                           A - —     specifically documented that

16       they discussed it with him,              I ’m still going to list

17       what had happened in that visit.

18                           Q - Okay.        And do you make any

19       determination,       if t h e r e ’s no documenta tion of the

20       insured having been pro vided the information,                        do you

21       still    rescind the policy,          even though you d o n ’t know

22       if the insured knew of the condition?

23                           M S . PE T T :   O b j e c t t o t h e f o rm .   Go

24       ahead.

25       OBJECTION




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                                                                     LISA BUCKLAND                   19


 1       BY MR.      GREENE:

 2                               Q - You can answer.

 3                              A - Again,          I would document everything

 4       I ’ve seen in the visits,                  and then I send it off for

 5       another,       to und erwriting            for review.

 6                               Q - Right.          And assume underwriting

 7       comes back and said:                  "If I knew the guy had

 8       diabetes,        I would not have issued the policy."

 9                              A - Correct.

10                               Q - But you still h a v e n ’t determined

11       that the insured knew of the condition in my

12       hypothetical;           right?

13                              MS.     PETT:       Objection to the form.                      Go

14       ahead.

15       OBJECTION

16                              A - Yes,        I d o n ’t want to do

17       hypotheticals.

18       BY MR.      GREENE:

19                               Q - Well,        we —      t h a t ’s what you do

20       every day when you send off things back to your

21       underwriter and say:                  "What would you have done if?"

22       So no disrespect,              but    follow along with me.

23                               In this       case that I ’m asking you

24       about,      you go ahead,            you look at the i n s u r e d ’s

25       m e d i c a l r e c o r d s ; t h e r e ’s n o t h i n g t o i n d i c a t e t h a t




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 1       the doctor talked to the insured about any of his

 2       diagnosis;      you with me so far?

 3                           A - Yes,         I am.

 4                               Q - Okay.     And yet you find something

 5       that looks      like it was omitted from the application;

 6       s t i l l wi t h me ?

 7                           A - Yes.

 8                               Q - Okay.     Now,    you send it off to

 9       underwriting,           under wri tin g   said:     "We would have

10       issued a different policy."                  You still with me?

11                           A - Yes.

12                               Q - "Or we w o u l d n ’t have issued the

13       policy."      Anyone of those?

14                           A - Yes.

15                               Q - You still with me?

16                           A - Yes.

17                               Q - Do you rescind the policy,         even

18       though you have not made a determination whether the

19       insured knew of the condition?

20                           MS.      PETT:    Objection to form.       Go

21       ahead.

22       OBJECTION

23                           A - At that point             I would do up a

24       rescission letter and send it to management                   for

25       review.




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                                                      LISA BUCKLAND      21


 1       BY MR.   GREENE:

 2                          Q - So your rec ommendation would be to

 3       do a rescission?

 4                          A - Correct.

 5                          Q - Why would you do that if you have

 6       never at that point made a determination whether the

 7       insured pro vided his best knowledge and belief?

 8                          MS.   PETT:   Objection to the form.

 9       OBJECTION

10                          A - Again,    I would do it based on the

11       amount of times      it was noted in the medical       records,

12       I would,    I would have to believe        that he was aware

13       of his medical      conditions.

14       BY MR.   GREENE:

15                          Q - Is there a reason you w o u l d n ’t call

16       or make a written inquiry of the doctor to find out

17       if he,   if the patient was aware of his medical

18       condition?

19                          A - T h e r e ’s no reason.

20                          Q - Okay.     You could do it?

21                          A - I could go back to the doctors;

22       correct.

23                          Q - You agree with me that in terms of

24       getting to the actual answer of whether           the insured

25       provided his best knowledge and belief,           that woul d be




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                                                            LISA BUCKLAND            22


 1       more accurate,       a better way to do it,           than —       and I ’m

 2       not being disrespectful,             but assuming that he must

 3       have known by the number of times the doctor made an

 4       entry;    would that be fair?

 5                           MS.    PETT:     Objection to the form.

 6                           WITNESS:       Can you read it to me?

 7                           MR.    GREENE:     Sure.      Can you read that

 8       back,    please.     Listen to it carefully.

 9                           COURT REPORTER:         "You agree with me

10       that in terms of getting to the actual answer of

11       whether the insured pro vided his best knowledge and

12       belief,    that would be more accurate,              a better way to

13       do it,    than —     and I ’m not being disrespectful,                but

14       assuming that he must have known by the number of

15       times the doctor made an entry;                 would that be fair?"

16       BY MR.    GREENE:

17                           Q - In other words,           actually calling

18       the doctor and saying:             "Did you tell him?",          as

19       opposed to assuming he must have told him because

20       there were a bunch of entries              on there?        T h a t ’s all.

21                           MS.    PETT:     Objection.     Okay.

22       BY MR.    GREENE:

23                           Q - You can answer.

24                           A - Sorry,       I ’m not    sure how to answer

25       this one.     Yeah,       I d o n ’t think i t ’s a better way.             I




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                                                              LISA BUCKLAND             23


 1       think i t ’s another way that             I could have gotten,

 2       found out if he was aware.

 3       BY MR.    GREENE:

 4                           Q - Well,      one would tell you the actual

 5       answer;    right?

 6                           A - Yes.

 7                           Q - Your way d o e s n ’t tell you the

 8       actual    answer;    does it?

 9                           A - No.

10                           Q - Okay.        In reviewing the records

11       that Ms.     Pett showed you —            first of all,         when did

12       you do that?

13                           A - The,      this actual        file?

14                           Q - Yes.

15                           A - I believe         it was early 2017.

16                           Q - I ’m sorry,        no,    when did you

17       review - ­

18                           A - Oh.

19                           Q - —      the file with Ms.           Pett?

20                           A - Just -- was          it Tuesday?          Tuesday.

21                           Q - Okay.        The documents that you were

22       referring to were the documents                  contained within the

23       claim file;     correct?

24                           A - Correct.

25                           Q - A n d i f I u n d e r s t an d c o r r e c t l y , t h e y




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                                                              LISA BUCKLAND      24


 1       were    just Dr.     H e r s h m a n ’s records;   would that be

 2       right ?

 3                           A - I believe        so.

 4                            Q - Okay.       Was there any other document

 5       that you relied upon to make your rec ommendation to

 6       deny the claim and rescind the policy other than the

 7       CPT code entries that Dr.             Hershman made?

 8                           MS.    PETT:     Objection to the form.

 9       OBJECTION

10                           A - You keep referring to CPT codes

11       that -­

12       BY MR.    GREENE:

13                            Q - L e t ’s get to what they are,           because

14       they may be,       I may be using the wrong term.

15                           A - Yes.

16                            Q - I ’m talking about the billing

17       codes;    do you know what         I ’m talking about when I say

18       that?

19                           A - Yeah,      ICDs.

20                            Q - ICD codes?

21                           A - Yeah.

22                            Q - Okay.       H e r e ’s the claim file.       This

23       should be a copy of -- I ’m showing the witness

24       p l a i n t i f f ’s Exhibit   8 from yesterday.         That    should be

25       a complete      copy of what Ms.         Pett      showed you.




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                                                           LISA BUCKLAND             25


 1                              A - Okay.

 2                              Q - Can you tell me what you were

 3       referring to when you said that you relied upon

 4       "blank"      to recommend rescission?

 5                              A - Well,   I would,   I would look at it

 6       as a whole,         not just codes.      I ’m looking at it as a

 7       whole.       I ’m looking at the reason for the visits.

 8       I ’m looking at everything t h a t ’s documented,                 just,

 9       not just the ICD codes listing a diagnosis.

10                              Q - I underst and y o u ’re getting all the

11       m e d i c a l re c o rd s .

12                              A - Hm-hmm.

13                              Q - But I ’m asking you what are you

14       looking at as the basis            for the misr epres entat ion?

15                              A - I ’m looking to see if the doctor,

16       what the doctor documented.              Again,    not just codes,

17       I ’m looking at the reason for the appointments;                     I ’m

18       looking at current medications.

19                              Q - Okay?

20                              A - Past medical history,          and —

21                              A - Okay.     L e t ’s talk about a few of

22       those.       Was this patient on any diabetes medication?

23                              A - I would have to go through the

24       file a g a i n .

25                              Q - Okay.     L e t ’s do this —     D a v i d ’s not




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                                                                          LISA BUCKLAND        26


 1       here yet,         but - ­

 2                                 MR.      COLLINS:         Not to my knowledge.

 3       BY MR.       GREENE:

 4                                 Q - Okay.            I ’m going to let you —

 5       w e ’re going to go off the record because nobody likes

 6       to read while a c a m e r a ’s —

 7                                 A - Thank you.

 8                                 Q - No problem.                 Go off the record.

 9       I ’m going to ask you these questions:                                I ’m going to

10       ask you what you looked at;                          I ’m going to ask you

11       whether there was any history of diabetes,                                 other than

12       those      IG —       what are they?

13                                 A - ICD.

14                                 Q -      IC -­

15                                 A -      --    D.

16                                 Q - ICD codes,              cause I w o n ’t mess that

17       up again,          I promise.             ICD codes.            I ’m going to ask

18       you if t h e r e ’s any indication of blood.                             Do you —

19       well,      let me ask you:                 Do you look at blood test

20       results?

21                                 A - Not necessarily.

22                                 Q - Well,           I need an answer.            Do you

23       look at blood test results when determining whether

24       s o m e o n e h a so r h a s n o t a l l e g e d l y          m ade a

25       m i s r e p r e se n t a t i o n   i n t h ea p p l i c a t i o n ?




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                                                      LISA BUCKLAND          27


 1                        A    I look at test results,         yes.

 2                        Q    Okay.     And that would include blood

 3       test results?

 4                        A    It would look at,       yes,   all test

 5       results.

 6                        Q - Okay.      So you do look at them?

 7                        A - I look at those.

 8                        Q - Okay.      When looking at them,         do you

 9       measure whether,     do you determine whether they are

10       normal or abnormal       for an indication of a diagnosis

11       for whateve r condition you're         suspecting?

12                        A - That would be under writi ng that

13       would do t h a t .

14                        Q - Okay.      But when you're maki ng the

15       decision as to whether        somebody m i s r epr es ent ed or

16       not,   do you look at the blood test result to

17       determine whether or not,        "Hey,   given he had this

18       blood test result,       he must have known that he had

19       disease A,    B or C"?

20                        A - Again,     I' m going to look at what

21       the doctor documented.         They,   they generally,       they

22       would typically ment ion the test results            and --

23                        Q - That's     answering your question

24       about whether you'd look at what the doctor

25       documented,    that wasn't my question.          Can you read




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                                                                 LISA BUCKLAND            28


 1       back my question,           please?

 2                             COURT REPORTER:            "But when y o u ’re

 3       making the decision as to whether                     somebody

 4       m i s r e p r e se n t e d o r n o t , d o y o u l o o k a t t h e b l o o d t e st

 5       result to determine whether or not,                       ’Hey,    given he

 6       had this blood test result,                 he must have known that

 7       he had disease A,           B or C ’?"

 8                             A - I do look at the blood test

 9       results,      but I would not base a rescission strictly

10       on them.

11                             Q - Okay.         So if hyp ot het icall y there

12       was   some blood test result that would indicate the

13       presence,       God forbid,        of cancer,       and that blood test

14       result came back positive,                 that would be something

15       you would consider?

16                             A - Correct.

17                             Q - On the other hand,               if the doctor

18       sent out a blood test result that in order to have a

19       diagnosis of cancer it had to have a reading of 3 or

20       over,    and this guy was 2.9,              you woul d indicate that

21       he d i d n ’t have cancer;          right?

22                             A - I would,         again I would take it as

23       a whole;      I would look at everything.

24                             Q - You would consider that?

25                             A - I would consider it.




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                                                             LISA BUCKLAND       29


 1                                Q - Okay.      And you would actually look

 2       at the reading,            the number,     versus what     it took to be

 3       diagnosed with that condition,                 that would be part of

 4       your factoring;            right?

 5                                Do you underst and the question?

 6                                A - I do unders tan d what you're

 7       saying,      I just am not sure how to answer you.

 8                                I would,      I would run it by

 9       underwriti ng for their opinion on it.

10                                Q - You're asking under writi ng whether

11       they would have issued the policy or not had they

12       known A,      B and C,         that's   your question to

13       underwriting;            right?

14                                A - Yes.

15                                Q - Okay.      What   I'm asking you is,    from

16       the claims perspective of whether or not the insured

17       m i s r ep re se nt ed    something or not;       do you take into

18       consideration the reading,                 the blood test reading,

19       what number it is and what                 it takes in order to have

20       a positive diagnosis              that you claim the,      a proposed

21       insured left off,              or a negative diagnosis?

22                                MS.   PETT:    Objection to the form.

23       OBJECTION

24       BY MR.     GREENE:

25                                Q - Do you look at that number and what




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                                                      LISA BUCKLAND             30


 1       it takes    for it to be positive?

 2                         A - I look at the,       I look at the test

 3       results,    and not being a doctor,        I am not —

 4                         Q - Qualified?

 5                         A - —    yes,    I ’m not qual —    like,       I

 6       d o n ’t know —

 7                         Q - I ’ll help where      I can.

 8                         A - -- what the reading should exactly

 9       be,   so I would discuss        it with underwriting.

10                         Q - So then,      w h a t ’s the point of you

11       looking at a blood test result          if you d o n ’t know what

12       the meaning of the blood test result was?

13                         A - I would,      I would include     it,   I

14       could include it when I sent it to underwriting.

15                         Q - What if the blood test result comes

16       back and says 1,567,       do you know what      1,567 means          on

17       any particular       reading?

18                         A - Some of them I do.

19                         Q - Okay.       So you do take your

20       knowledge and experience          about what a positive       or

21       negative    result    is into consideration when deciding

22       whether to rescind a policy?

23                         A - Yes.

24                         Q - Okay.       Are you familiar with what

25       positive,   negative or other        similar readings are for




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                                                       LISA BUCKLAND              31


 1       diabetes ?

 2                          A - No.

 3                          Q - So if I were to tell you that a

 4       particular     insured had a 4.0,       a 5.0,      6.0,   7.0 or an

 5       8.0 on an A1c reading,         you would have no idea what

 6       that meant?

 7                          A - No.

 8                          Q - Okay.     At the time that you made

 9       your decision to recommend,           the time you made your

10       decision whether to recommend -- or to recommend

11       rescission and deny Ms.        V i n a s ’ claim,    did you have

12       available to you the diabetes           questionnaire?

13                          A - Yes,    sir.

14                          Q - Okay.     And has that been mark ed as

15       Exhibit   6?    Is that the diabetes        questionnaire that

16       I ’m handing you?

17                          A - Yes.

18                          Q - Okay.     I have another —           t h a t ’s

19       okay.

20                          Now this,    if I unders tan d correctly,

21       was a document that was         signed by the insured as

22       well;   correct?

23                          A - Yes.

24                          Q - And it was done because apparently

25       the Medical     Information Bureau had a 2012 hit that




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                                                    LISA BUCKLAND         32


 1       reflected diabetes with regard to Mr. Vinas;             does

 2       that   sound familiar?

 3                        A - Yes.

 4                        Q - And in order to clarify the issue,

 5       Foresters asked for this document to be sent out;

 6       does that sound familiar?

 7                        A - Yes.

 8                        Q - Okay.     And this   is all information

 9       that you gathered and reviewed and went over before

10       you made your recommendation;         correct?

11                        A - Yes.

12                        Q - Read along with me,         if you would,

13       on number 11.      It says:     "Please provide any

14       additional    information you feel you would -"- you"

15       means Mr. Vinas;     right?

16                        A - Yes.

17                        Q - Okay.     "—   is important    in relation

18       to this   condition",    and   "this condition" would be

19       regarding diabetes;      correct?

20                        A - Yes.

21                        Q - Okay.     Read what the insured wrote,

22       please.

23                        A - "Proposed insured had a medical

24       exam done for an insurance policy — "

25                        Q - Let me just warn you —          I d i d n ’t do




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                                                                   LISA BUCKLAND              33


 1       this,     my bad.        When you read,           you tend to speak much

 2       more quickly,          we all do.

 3                              A - Okay.

 4                              Q - So consciously read slowly because

 5       our court reporter will,                 we d o n ’t want him to get to

 6       upset with u s .

 7                              A - Okay.

 8                              Q - Yeah.

 9                              A - "Proposed insured had a medical

10       exam done for an insurance policy in 2012.                                 The

11       m e d i c a l e x a m i n e r t o l d h im t h a t h e h a d d i a b e t e s . "

12                              Q - Okay.         Let me stop you there.                    That

13       would be the medical               examiner       for the,       for the

14       insurance policy from 2012;                   is that how you read it?

15                              A - Yes.

16                              Q - Okay.         Go on.

17                              A - "After following up with his

18       primary doctor and doing additional testing,                                he

19       concluded that the primary insured did not have

20       d i a b e t e s ."

21                              Q - Let me        stop you there.              So

22       apparently Mr.          Vinas went to his doctor;                   correct?

23                              A - Correct.

24                              Q - And that would be Dr.                  Hershman,         the

25       primary doctor;           right?        If It says it up here?




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                                                       LISA BUCKLAND         34


 1                        A - Yes.

 2                        Q - Okay.       And Dr.   Hershman told him he

 3       did not have diabetes;       t h a t ’s what that   form says;

 4       right ?

 5                        A - T h a t ’s what   it says.

 6                        Q - Okay.       So you had in front of you,

 7       when you evaluated this       claim to determine what

 8       Mr. V i n a s ’ best knowledge and belief was about

 9       whether he had diabetes       or not,      information that his

10       doctor told him he did not have diabetes;            would that

11       be fair?

12                        A - T h a t ’s what he said.

13                        Q - Okay.       And after being told that,

14       with that information,       the policy was issued;         right?

15                        A - Yes.

16                        Q - So Foresters       relied upon,    among

17       other things,    the accuracy of that information in

18       issuing the policy;      fair?

19                        A - Yes.

20                        Q - Okay.       I just brought up to your

21       attention here -- and if you want to read the rest,                  I

22       d o n ’t want to be accused of stopping you;          if you

23       think that    I ’ve stopped you and t h e r e ’s something

24       more you want to read for fairness,            please do.      Is

25       there anything more you want to read there?




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                                                    LISA BUCKLAND         35


 1                        A - No,    I ’m okay with it.

 2                        Q - Okay.     I ’ve just pointed out to you

 3       in this deposition that there was affirmative

 4       docum entation in the file that        specifically addressed

 5       what Mr.   Vinas was told by his doctor;          right?

 6                        A - Yes.

 7                        Q - Okay.     Other than that,      other than

 8       the fact that Mr.     Vinas was     specifically told by his

 9       doctor that he did not have diabetes,            according to

10       this document,     are you aware of any other evidence in

11       your entire    claim file that you've reviewed that

12       addresses what Mr.     Vinas was actually told by his

13       doctor?

14                        A - No , s i r .

15                        Q - Okay.     So then,   it's    fair to say

16       the only evidence     in your claim file about what

17       Mr. Vinas was told by his doctor indicates he was

18       told that he did not have diabetes;          fair?

19                        A - Can you repeat that?          Sorry.

20                        Q - Sure.     The only evidence      in your

21       claim file which addresses what Mr. Vinas was told by

22       his doctor relating to diabetes was that he was told

23       by his doctor that he did not have diabetes;               is that

24       a fair statement?

25                        A - Yes.




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                                                           LISA BUCKLAND             36


 1                          Q - Let me have a couple of —                    dot a

 2       couple   "i"s and cross a couple            "t"s here.

 3                          Do you have any recollection of the

 4       handling of this         file whatsoever?

 5                          A - No,    sir.

 6                          Q - Do you have any recollection of

 7       ever talking to Mrs.         Vinas?

 8                          A - No , s i r .

 9                          MR.   GREENE:      L e t ’s go off the record

10       and let me look at that         screenshot that we h a v e n ’t

11       been able to print out yet,              make   sure t h e r e ’s

12       nothing in there I need you to go over.                    I think I ’m

13       done with this young lady.

14                          VIDEOGRAPHER:          Off the record at 9:02

15       a .m .

16       (OFF RECORD)

17                          VIDEOGRAPHER:          W e ’re back on the

18       record at 9: 10 a. m.

19       BY MR.   GREENE:

20                          Q - Okay.       Ms.    Buckland,     I have a

21       couple of things before we move on to the document.

22                          The material was         sent by Mrs.       Vinas,

23       the medical    records      specifically,        to the insurance

24       company on w h a t ’s dated as February 1st,               2017.       If

25       we assume it got to you the 2nd,                3rd,   4th,   something




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                                                             LISA BUCKLAND        37


 1       like that,       your documenta tion           for having reviewed

 2       the material           and gotten the rec ommendation off to —

 3       or the summary,           I should say,        off to underwriting

 4       w a s n ’t till the 24th,        three weeks       later;   is that

 5       about the turnaround time for files                   in your office

 6       that y o u ’re working on?

 7                              A - Turnaround times can vary.

 8                               Q - I ’m just trying to figure out what,

 9       what was going on during this three weeks,                    and I know

10       you have no independent               recollection of it,        and I

11       understand that           100 percent,     but    I ’m trying to figure

12       out why it took three weeks               after Mrs.     Vinas    sent the

13       documents      in for you to even first then send a

14       su m m a r y t o - -

15                              A - It would be based on my workload.

16                               Q - Okay.      Let me ask you to take a

17       look at Exhibit           12.   Actually,       i t ’s pro bably —

18                              MS.   PETT:     D i d n ’t we mark that

19       yesterday?

20                              MR.   GREENE:     I d o n ’t think these

21       individual       ones were.          If they were,     then I ’ll

22       certainly have to use the other one.                    L e t ’s see.

23                               I d o n ’t think so.      I know we looked at

24       t h em .

25                              MS.   PETT:     Okay.




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                                                                  LISA BUCKLAND               38


 1                               MR.   GREENE:       I know there were two of

 2       them;    there was        245 and 246,         and —       so I think there

 3       wa s 2 2 7 .

 4       EXHIBIT NO.        12:    Email     from Liz Folk to Eli Whabi                  and

 5       Valerie Bourbonnais.

 6       BY MR.     GREENE:

 7                               Q - Take a look at w h a t ’s been marke d

 8       as Exhibit        12,    if you would.

 9                               Is -- I know that the header on that

10       says i t ’s from Liz Folk,              but I think t h a t ’s because

11       t h a t ’s the return version of it.

12                               A - Yes.

13                               Q - Is that a summary that you pre pared

14       to send to und erwriting of what you found to be the

15       relevant       factors        from the claim file?

16                               A - Yes.

17                               Q - I have       something here.            W h a t ’s the

18       Bates    stamp number on that if you would,                        please?

19                               A - This n u m b e r ?      The IOF-000245?

20                               Q - 245.       Okay.      Y o u ’ve indicated

21       strike t h a t .

22                               Is it your job,          if I understand

23       correctly,        to provide underw rit ing with all of the

24       i n f o rm a t i o n f r o m t h e e n t i r e f i l e t h a t y o u t h i n k i s

25       relevant to the determina tion of whether or not A,




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                                                          LISA BUCKLAND             39


 1       the propose d insured answered something incorrectly,

 2       and B, whether it was material?

 3                           A - Yes.

 4                           Q - Okay.       What part of this did you

 5       fill out,    including just         filling in blanks?        You

 6       know,    I assume t h e r e ’s a place      for age at issue,        you

 7       probably had to fill that in or maybe that came in

 8       prefilled?

 9                           A - Do you have the one I sent to Liz,

10       just because Liz also adds            stuff in on this?

11                           MS.   PETT:     I have it.

12                           MR.   GREENE:     Okay.    L e t ’s go ahead,

13       w e ’ll mark that as Exhibit          13,   if t h a t ’s okay?     Here

14       you go.

15       EXHIBIT NO.     13:   Contestable      Claim Und erwriting

16       Review-Life,     Bates     document    000227.

17       BY MR.    GREENE:

18                           Q - Okay.       And for the record,       t h a t ’s

19       Bates    stamp what?

20                           A - 000227.

21                           Q - Okay.       Hold on one second,       I ’ll get

22       to that.

23                           And my question is the same:            What did

24       you fill in?

25                           A - Everything that is completed on it




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                                                               LISA BUCKLAND            40


 1       I had written in.

 2                              Q - Okay.

 3                              A - Everything t h a t ’s not in bold.

 4                              Q - Okay,         ’cause the bold is w h a t ’s

 5       pr e-fil led      for,     for the question?

 6                              A - Correct.

 7                              Q - Okay.

 8                              A - Except         for where it says     "Report

 9       from Hershman Medical                Center",    I would have put that

10       in.

11                              Q - Okay.          So then you filled in that

12       this was a male,            73 years old,        non-tobacco user.        The

13       issue date and the date of death,                    that was all

14       i n f o rm a t i o n y o u f i l l e d i n ?

15                              A - Yes.

16                              Q - A n d th e qu e st ionn a i re s , in d i cat e s

17       diabetes       questionnaire,           t h a t ’s that extra

18       questionnaire you all                sent out,     right?

19                              A - Yes.

20                              Q - Then you gave a summary of the

21       things you thought were                 relevant    from the medical

22       records;       right?

23                              A - Correct.

24                              Q - Do you also attach the medical

25       records      for the u n d e r w r i t e r ’s review as well?




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                                                           LISA BUCKLAND        41


 1                            A - No,    sir.

 2                            Q - So the only thing that the

 3       underwriter has available to him,                or her,   is this

 4       sheet?

 5                            A - No,    sir.    When —     I d o n ’t attach

 6       the medical     records but they do have access              to them

 7       in our system.

 8                            Q - Understood.       So they can get to

 9       them,    t h e y ’re just not phy sical ly attached?

10                            A - Correct.

11                            Q - Understood.       Okay.

12                            You indicated what you thought were

13       the bases    for the,      what you call mis rep re sen ta tio n

14       or inaccuracies        in the questionnaire;         correct?

15                            A - Yes,    sir.

16                            Q - Okay.     And you told me that you do

17       understand that the question that is to be answered

18       in order to determine whether t h e r e ’s a

19       mi sr ep resen tat ion s   is whether or not the insured

20       answered the questions not accurately but rather to

21       his best    knowledge and belief;          true?

22                            A - Yes.

23                            Q - Okay.     Is there any reason you

24       d i d n ’t include    in the information to be provide d to

25       the underwriter the fact that this insured,                  in




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                                                          LISA BUCKLAND        42


 1       addition to these,             what you thought were

 2       inconsistencies          or discrepancies,      the fact that the

 3       insured was         specifically told by his doctor that he

 4       did not have diabetes,             is there a reason you d i d n ’t

 5       include that as a question?

 6                              A - No.

 7                              Q - Why would you not have included

 8       that if the ultimate question to be determined is

 9       what the insured knew?

10                              A - I include w h a t ’s in the medical

11       records.

12                              Q - D o n ’t you also include w h a t ’s in

13       the other material             that you had available to you?

14                              A - No,    this   is, what you see here is

15       what       I send off.

16                              Q - Right?

17                              A - Underw rit ing has access to the

18       whole       file,   and they would --

19                              Q - Okay?

20                              A - —     they would do what they do.

21                              Q - Okay.     So you,   you pointed out the

22       stuff that you felt was             inconsistent,   but you d i d n ’t

23       point out any of the information that               showed that

24       Mr.    —     in this    case you pointed out things       that you

25       thought were inconsistent,               but you did not point out




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                                                              LISA BUCKLAND           43


 1       the single area in the entire                   file that     said that

 2       Mr. Vinas d i d n ’t know that he had —

 3                              A - I d i d n ’t point that out,          no.

 4                              Q - Diabetes was my last word but,

 5       t h a t ’s fine.       Okay.     W e ’re done with that exhibit;

 6       w e ’re going to leave that here.

 7                              I ’ll mark these.         We have the same

 8       agreement,     all these are business               records?

 9                              MS.     PETT:   Yes.

10                              MR.   GREENE:      I d o n ’t even have the

11       video on you.

12       BY MR.   GREENE:

13                              Q - Take a look at Exhibit number 14

14       and Exhibit        —    I d o n ’t know why I have a separate

15       one —    and Exhibit           15.

16                              MS.   PETT:     We have a 15 already.

17                              MR.   GREENE:      No,   remember we

18       substituted 11 -­

19                              MS.     PETT:Oh,   t h a t ’s right.

20                              MR.   GREENE:      -- at the     end by

21       stipulation.

22                              MS.   PETT:     Yes.

23       BY MR.   GREENE:

24                              Q - Those two seem to be identical,                but

25       they were two different Bates                   stamp numbers,     so I ’m




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                                                             LISA BUCKLAND           44


 1       showing them both to you,             and I ’ve mar ked them as 14

 2       and 15.     Can you tell us what those are?

 3       EXHIBIT NO.     14:    Email    from Liz Folk to Lisa Buckland

 4       Dated February 28,         2017 at 9:30:12 a.m.

 5       EXHIBIT NO.     15:    Email    from Liz Folk to Lisa Buckland

 6       Dated February 28,         2017 at 9: 30: 12 a. m.

 7                           A - This is when Liz sends the

 8       underwriting,       sent the under writi ng opinion back to

 9       me .

10       BY MR.    GREENE:

11                           Q - Okay.        So t h e r e ’s the,     if I

12       understand correctly,           t h e r e ’s the,   your request:

13       "Please    review and a d v i s e ”?

14                           A - Hm-hmm.

15                           Q - A n d t h a t ’s , y o u ’r e s e n d i n g t h e

16       underwriter the request to review a contestable

17       claim;    correct?

18                           A - Yes.

19                           Q - And that was this             contestable

20       claim;    right?

21                           A - Yes.

22                           Q - And she knows what y o u ’re talking

23       about because you do this all day long;                     right?

24                           A - Correct.

25                           Q - I t ’s not like you have to say:




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                                                      LISA BUCKLAND        45


 1       "Please    review and advise.      This    is an insured

 2       were   —   yadda-yadda yadda";     right?

 3                        A - T h a t ’s correct.

 4                        Q - Okay.     Does und erwriting have a

 5       dedicated group of folks that just review contestable

 6       claims ?

 7                        A - Yes.

 8                        Q - Okay.     So claims has a dedicated

 9       group of folks that just adjust contestable             claims,

10       you know,    see if t h e r e ’s a misrepresentation,

11       underwriti ng has a group of folks that j ust review it

12       from the und erwriting perspective?

13                        A - Correct.

14                        Q - So you work with Liz all the time?

15                        A - I used to.

16                        Q - Or did before        she left?

17                        A - Correct.

18                        Q - Okay.     And then the other part of

19       the email    is her response back to you where          she says:

20       "Hi Lisa.     The opinion is archived.         Regards"?

21                        A - Yes.

22                        Q - On average,     j ust on average,     how

23       many of these requests do you send to under writi ng on

24       a daily basis,     or a week ly basis?       I d o n ’t need an

25       exact number,    I just want a ballpark?




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                                                                LISA BUCKLAND            46


 1                          A - It v a r i e s .

 2                          Q - I ’m sure it does.                Is it ten?

 3       Three?    Seven?      Twenty?

 4                          A - It could be one;                it could be none;

 5       it could be five.

 6                          Q - Okay.        So somewhere between one and

 7       five a day?

 8                          A - It could b e .

 9                          Q - T h a t 's what      —

10                          A - Yeah.

11                          Q - I ’m looking for a range that you

12       feel comfortable with;           you're under oath so obviously

13       I want you to tell the truth.                   It's    somewhere between

14       one and five?

15                          A - Yes.

16                          Q - Six,      six would be really unusual,

17       and zero would be really unusual?

18                          A - Yeah.

19                          Q - Okay.        Fair enough.

20                          A n d d o y o u u su a l l y g e t b a c k a b o u t t h e

21       same?    Does und erwriting usually get them back to

22       somewhere between one and five results per day?                           On

23       average again?

24                          A - Yes.

25                          Q - Okay.        I need you to think back,




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                                                                         LISA BUCKLAND       47


 1       and I want you to look at your experience,                               you've

 2       been doing this              five years,              okay?     About what

 3       percentage          of the opinions                  that come back from

 4       underwriti ng say that                   "The policy would not have been

 5       issued the way it was originally issued" versus,                                  say,

 6       "Yes,      we would have issued it the same"?

 7                                A - I don't know.

 8                                 Q - You have no idea?

 9                                A - I don't know.

10                                 Q - You literally have —                   you can't

11       tell me if it's,               if it's above 50 percent,                 below

12       50 percent,           20 percent,           10 percent?           You have   zero

13       idea?

14                                A - I don't know the percentage.

15                                 Q - Ar e t h e r e m o r e t h a t c o m e b a c k t h a t

16       are found to be rescindable,                           that is that it was a

17       m a t e r i a l m i s r ep r e s e n t a t i o n ?

18                                A - Honestly,                I don't    know.   I don't

19       know.

20                                 Q - Who would keep track of that kind

21       of thing?

22                                A - Managem ent would.

23                                 Q - Okay.           Did you work yesterday?

24                                A - Yes,         sir.

25                                 Q - Okay.           Did you get back any,           any




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                                                     LISA BUCKLAND           48


 1       reports   yesterday from underwriting?

 2                        A - I -- my --

 3                        Q - I w o n ’t ask you names,        I promise.

 4                        A - Okay.

 5                        Q - Social    security numbers or diseases

 6       or anything like that,       just very generically,        did you

 7       get back any?

 8                        A - Honestly,     I d o n ’t know,   because   I

 9       did a system upgrade yesterday mor ni ng and my

10       Outlook was down until this morning.

11                        Q - Fair enough.       Did you work the day

12       before?

13                        A - Yes.

14                        Q - Okay.

15                        A - Only for a couple of hours.

16                        Q - Okay.     When is the last full day

17       that you put in at Foresters?

18                        A - It was on Monday.

19                        Q - Okay.     On Monday,    about how many of

20       these did you get back from underwriting?

21                        A - I d o n ’t know exactly.

22                        Q - I know.

23                        A - I believe one or two.

24                        Q - Okay.     Were the one or two that you

25       got back,   did they find that the policy should be




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                                                      LISA BUCKLAND             49


 1       rescinded,      or did they find that the policy would

 2       have been issued as-is?

 3                          A - I d o n ’t know,   I h a v e n ’t got to

 4       them y e t .

 5                          Q - Okay.     W h a t ’s the last one you

 6       remember?

 7                          I ’m trying to make     it easy,    you keep

 8       pushing me back.

 9                          A - You noticed.

10                          Q - And t h a t ’s important.      W h a t ’s the

11       last one you remember?

12                          A - The last one I remembered —

13       remember,      we are not going -- we are -- I ’m going to

14       prepare a rescission letter on it.

15                          Q   - Okay.   And that was last —

16                          A   - That would have been on Friday.

17                          Q   - Last week?

18                          A   - Yes, sir.

19                          Q - Okay.     Did you only do one that

20       day,   I think?

21                          A - I believe      it was just the one that

22       day.

23                          Q - Okay.     Do you remember any from

24       Thurs day?

25                          A - No.




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                                                               LISA BUCKLAND           50


 1                            Q - Okay.        All right.           L e t ’s go through

 2       this document really quick.                  W e ’re going to mark it

 3       as Exhibit     16.

 4                            MR.    GREENE:        All    right.     For the

 5       record,    last night at,           right in between the salad

 6       and the escargot,           I received an email             from

 7       counsel    —   I received an email                from counsel

 8       indicating that her client had in fact found some

 9       additional     documents       that would have been responses

10       to the request        for production;             was this the CRN,      is

11       that what it was called?

12                            MS.    PETT:     CRM.

13                            MR.    GREENE:        CRM.     From the CRM file,

14       and we are doing our best to make our way through

15       that    stuff today.

16       BY MR.    GREENE:

17                            Q - Have I mar ke d as Exhibit number                16,

18       Ms.    Buckland,     the printout          from a CRM program?

19                            A - Yes,       sir.

20       EXHIBIT NO.     16:        The printout          from a CRM program.

21       BY MR.    GREENE:

22                            Q - Is it a program?              Is that what      it

23       is?

24                            A - Yes.

25                            Q - Okay.        I ’m going to walk




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                                                    LISA BUCKLAND          51


 1       Mr.   Sullivan through the maj or it y of this,      but   I am

 2       asking you,    take a look at the very top.          It says:

 3       "Created on January 12th,       2017,   at 11:46 in the

 4       morning.     Death claim."     Who would have put that

 5       information in there?

 6                        A - It was    created by.

 7       Natasha who was a phone       representative.

 8                        Q - Okay.     And it says you were the

 9       owner?

10                        A - Yes.

11                        Q - What does     "owner" mean?

12                        A - It means    i t ’s going to be one of

13       the files    I ’ll handle.

14                        Q - Okay.     Are these on a wheel?        Do

15       they just get assigned next one,         next one,    next one,

16       next one?

17                        A - Yes.

18                        Q - Okay.     And apparently,     according to

19       this,    the -- on January 12th,     the agent    called to

20       report that the insured had passed away,           and

21       requested the claims      forms be sent via email.         Did I

22       read that accurately?

23                        A - Yes.

24                        Q - Okay.     And it says:      "Letter

25       emailed and imaged to FN — "




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                                                            LISA BUCKLAND              52


 1                           A   - FileNexus.

 2                           Q   - ”—       FileNexus on January 16th,

 3       17th,    by someone name d E . H . ”?

 4                           A   - Yes.

 5                           Q   - We d o n ’t know —       oh,    do we know who

 6       E.H.    is?

 7                           A   - I am —       Elizabeth Harris          is who   I

 8       would think that i s .

 9                           Q   - Is that a clerical          type person?

10                           A   - Yes.

11                           Q   - Okay.      And the status        is:     Problem

12       solved,       meaning   she went ahead and sent the stuff?

13                           A   - Sent the      forms.

14                           Q   - Did you undertake to input any of

15       the information on the one,              two,    three,    four pages

16       that make up Exhibit           —     I think it was       16?

17                           A   - Yes.

18                           Q   - Okay.

19                           A    An d n o , I d i d n o t .

20                           Q   - Okay.       Did you have available          for

21       your review any of the information on Exhibit                       16?

22                           A   - Yes.

23                           Q   - What was available          for your review?

24                           A    Al l o f i t .

25                           Q   - Can you tell me —           all right,      l e t ’s




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                                                     LISA BUCKLAND             53


 1       backup.

 2                        There are two areas of inquiry that              I

 3       would normally ask about now;        one is what your

 4       normal process would be,       one is what you know you

 5       did in this    case.     So I just want you to know that

 6       both of those are coming,       okay?

 7                        A - Okay.

 8                        Q - I assume you have no -            since you

 9       told me you have no recollection dealing wi th thi s

10       claim,   you c a n ’t tell me if you did any particular

11       step with regard to the handling of this            case?

12                        A - Correct.

13                        Q - Okay.     So if I ask you to look at

14       page   1, the entry on January 14th,        2015,   at 11: 44 ,

15       and then the entry on January 15th,          2015   at 9:14,      and

16       if I ask you did you review those prior to making

17       your decision,     you would have to tell me you d o n ’t

18       know one way or the other;       correct?

19                        A - Correct,     I d o n ’t recall.

20                        Q - Fair enough.        If I asked you would

21       it have been your normal process         or your normal

22       course of events       in what you do,   did you review thi s ,

23       what would you tell me?

24                        A - No.

25                        Q - Okay.     You would tell me you would




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                                                     LISA BUCKLAND            54


 1       not normally have reviewed this?

 2                        A - No,     sir.

 3                        Q - What     I said is correct?

 4                        A - Correct.

 5                        Q - It could be a double negative.

 6                        A - Yes.

 7                        Q - Okay.      In addition,   then,       to the

 8       diabetes   questionnaire      form,   there is an indication

 9       on January 14th,     2015,    that apparently was      —     was    it

10       input by Megan Lehman?

11                        A - Yes.

12                        Q - Okay.      L-E-H-M-A-N.    Mega n is

13       M-E-G-A-N.

14                        That   says that the agent called to

15       advise that Mr.     Vinas    does not have diabetes.          I

16       substituted the names,        but is that accurate?

17                        A - Yes.

18                        Q - Okay.      Mr. Vinas   completed an exam

19       for insurance in 2012,       when the examiner advised the

20       client,    specifically Mr.     Vinas,   that he had diabetes.

21       Mr. Vinas went to see the doctor and was advised that

22       he does not    suffer from diabetes.        All of that was in

23       the system;    correct?

24                        A - Yes.

25                        Q - If you would have looked at that




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                                                             LISA BUCKLAND                55


 1       beforehand,    would that have at least raised some

 2       question in your mind,           in light of what you —                    in

 3       light of your burden to determine what Mr.                       Vinas’

 4       best   knowledge and belief was as opposed to whether

 5       he met   some diagnostic criteria —

 6                          MS.   PETT:      Objection to the form.

 7       Sorry,   I thought you were done.

 8                          MR.   GREENE:       I promise,        I ’ll let you

 9       know.

10                          Okay,    let me restart.

11       BY MR.   GREENE:

12                          Q - If you had looked at this prior to

13       making your decision,          indicating that Mr. Vinas was

14       specifically told he d i d n ’t have diabetes,                   can you

15       tell me one way or the other if it would have

16       affected your decision?

17                          M S . PE T T :   O b j e c t i o n t o t h e f o rm .    Go

18       ahead.

19       OBJECTION

20                          A - It would not have.

21       BY MR.   GREENE:

22                          Q - Okay.

23                          A - The same information was provided

24       on the questionnaire.

25                          Q - So you would have recommended




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                                                         LISA BUCKLAND              56


 1       rescinding this policy even though the last

 2       information you have about what Mr.               Vinas actually

 3       knew was that he was told he d i d n ’t have diabetes;                     is

 4       that true?

 5                         A - He stated he d i d n ’t know.            The

 6       information     I had in the medical         records     showed that

 7       he did have it,      so I would have still recommended

 8       rescission.

 9                         Q - So for you,        it w a s n ’t a question of

10       what he knew or not,        it was what the diagnosis was?

11                         A - Correct.

12                         Q - Okay.       Last thing I need you to

13       l o o k at i s t he act ual me di c al re c o rds .    I di d have

14       you look through them while we were off the record

15       before.     Did you have a chance to do that?

16                         A - I - - n o , I d i d n ’t g o t h r o u g h t h em .

17                         Q - You d i d n ’t.     Okay.

18                         What    I ’d like you to do,        and maybe

19       w e ’ll let you take a minute,          w e ’ll start David,         and

20       then come back to you and finish.

21                         Remember I told you I was going to ask

22       you those    four categories of questions:              Who,    what

23       documents did you review;          where were they located?

24       That d o e s n ’t ring a bell?

25                         Okay.     Let me tell you what          I want you




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                                                       LISA BUCKLAND       57


 1       to do.      I want you to look through the claim file.

 2                            A - Okay.

 3                            Q - And I,    specifically with regard to

 4       the medical        records.

 5                            A - Hm-hmm.

 6                            Q - I want to know is there anything

 7       else other than the ICD codes that led you to believe

 8       that Mr.      Vinas had diabetes?

 9                            A - Okay.

10                            Q - Okay?

11                            L e t ’s go ahead and start David,      you go

12       ahead look through that,           and w e ’ll just do

13       swi t c hi e s .

14                            A - Okay.

15                            Q - Okay?     And that will be the last

16       area of inquiry I have for you,           okay?

17                            A - Okay.

18                            VIDEOGRAPHER:     Off the record at

19       9 :3 6 a .m .

20       (OFF RECORD)

21                            VIDEOGRAPHER:     W e ’re back on the

22       record at 9: 39 a. m.

23       BY MR.     GREENE:

24                            Q - Okay.     With rep resentation from

25       counsel     that Ms.    Buc kland will not have to be making




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                                                      LISA BUCKLAND       58


 1       a trip to South Florida to appear live,             I have no

 2       other questions.

 3                        A - Thank you.

 4                        MS.   PETT:     No questions.      W e ’ll waive.

 5                        WITNESS:      Okay.

 6                        VIDEOGRAPHER:         This marks   the end of

 7       Media   1 in t o d a y ’s proceedings    in the deposition of

 8       Lisa Buckland.      Going off the record at 9:39 a.m.

 9       —   A dj ou rne d at 9:39 a.m.

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                                                    LISA BUCKLAND        59


 1                    C E R T I F I C A T I O N

 2

 3            I HEREBY CERTIFY THE FOREGOING to be a true and

 4       accurate transcrip tio n of my shorthand notes to the

 5       best of my skill and ability.

 6

 7            I FURTHER CERTIFY that       I am neither attorney nor

 8       counsel    for,   nor related to or employed by,       any of

 9       parties    to the action in which this deposition was

10       taken,    and further that    I am not a relative or

11       employee    of any attorney or counsel employed in this

12       action,    nor am I financially interested in this

13       case.

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16                         MARC BEEBE,   O.C.R.

17                   Comp ute r-A ide d Transcription

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                           TORONTO COURT REPORTERS
